       Case 1:19-cv-08655-LGS Document 278 Filed 12/05/22 Page 1 of 7




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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


ULKU ROWE,

                         Plaintiff,

                 v.                      Case No. 1:19-cv-08655 (LGS)

GOOGLE LLC,

                         Defendant.




             PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
              TO DEFENDANT’S MOTION IN LIMINE REGARDING
                 EVIDENCE OF LEVELING DETERMINATIONS
         Case 1:19-cv-08655-LGS Document 278 Filed 12/05/22 Page 2 of 7




                                      Preliminary Statement

       Defendant has moved to exclude evidence of leveling “decisions or recommendations”

outside of Level 8 and 9 Technical Directors in the Office of the CTO, arguing that this evidence

is irrelevant to Plaintiff’s claims and that even if it was relevant, it would cause unfair prejudice.

Plaintiff does not seek to introduce evidence of leveling decisions for all employees outside the

group Defendant identifies, but only select leveling decisions that relate to certain jobs and roles

and that were made by a key decision-maker in this case, Tariq Shaukat, as well as the leveling

history of Mr. Shaukat and Mr. Grannis. Contrary to Defendant’s general and overbroad

arguments, this limited material is specific, relevant, and probative on the issue of Mr. Shaukat’s

gender bias and Google’s general corporate bias and approach to leveling, and therefore is

admissible.

       In this matter, Plaintiff Ulku Rowe alleges, in part, that Google discriminated against her

in violation of the New York City Human Rights Law (“NYCHRL”) by: (a) hiring Ms. Rowe at

a lower level and paying her less than her male peers; (b) subjecting her to differential treatment;

and (c) denying her a promotion for which she was qualified. Although Plaintiff has limited her

male comparators and agreed not to introduce evidence related to the leveling of certain

Engineers and Product Managers, she nevertheless seeks to introduce limited evidence of

specific leveling decisions outside of the Technical Director cohort made by Mr. Shaukat, the

same decisionmaker involved in the decision not to promote Ms. Rowe and who subjected her to

differential treatment, because it is relevant and probative of Google’s intent to discriminate and

to whether its explanations for its decisions are impermissible pretext. Plaintiff also seeks to

introduce evidence regarding the decision to re-level one L7 employee as it is relevant evidence

to allow a jury to infer discriminatory intent and pretext. Similarly, the jury is entitled to hear



                                                   1
         Case 1:19-cv-08655-LGS Document 278 Filed 12/05/22 Page 3 of 7




how Google leveled Mr. Shaukat as an L10 and releveled Mr. Grannis as an L9 when they had

19 and 18 years of experience respectively, similar to or less than the number of years of

experience Ms. Rowe had when Google leveled her as an L8. Further, Google releveled Mr.

Grannis to L9 in connection with his expanded role in OCTO, and releveled him to L10 in

connection with a VP promotion; evidence that, contrary to HR’s assertion, Google could have

releveled Ms. Role in connection with placing her in the Financial Services Vertical Lead

(“FSVL”) position. As such, Defendant’s motion should be denied with respect to those leveling

decisions.

                                          ARGUMENT

       a. Leveling Decisions by Tariq Shaukat are Relevant.

       Evidence that Google treated men similarly-situated to Ms. Rowe more favorably is

relevant evidence of Google’s discriminatory intent and that its explanations otherwise are false.

Specifically, employment decisions, including leveling decisions, concerning male employees

made by the same decisionmakers involved in Ms. Rowe’s hiring or promotion are relevant to a

jury’s determination of whether gender was motivation of Google. See Mihalik v. Credit

Agricole Cheuvreux N. Am., Inc., 715 F.3d 102, 110 (2d Cir. 2013) (under the NYCHRL,

plaintiff need only demonstrate “differential treatment — that she [was] treated ‘less well’ —

because of a discriminatory intent”) (quoting Williams v. N.Y.C. Hous. Auth., 872 N.Y.S.2d 27,

34 (1st Dep't 2009)); Leibowitz v. Cornell Univ., 584 F.3d 487, 502 (2d Cir. 2009), superseded

on other grounds by N.Y.C. Local L. No. 85, as recognized in Mihalik, 715 F.3d at 108-09 (“It is

well-settled that an inference of discriminatory intent may be derived from . . . more favorable

treatment of employees not in the protected group[.]”) (internal citation omitted).




                                                 2
         Case 1:19-cv-08655-LGS Document 278 Filed 12/05/22 Page 4 of 7




       Defendant argues that evidence of Mr. Shaukat’s leveling of Stuart Breslow is irrelevant

to Plaintiff’s claims because Mr. Shaukat played no role in Ms. Rowe’s hire or initial leveling.

But this argument misses the import of Plaintiff’s proposed evidence. Ms. Rowe asserts that Mr.

Shaukat made other decisions concerning position that were discriminatory, including denying

her the FSVL role in favor of Mr. Breslow. Ms. Rowe has also asserted claims that Mr. Shaukat

generally treated her less well because of her gender during the time she reported to him as a

Global Client Technical Lead. Accordingly, evidence of how Mr. Shaukat treated Mr. Breslow

and other male subordinates in their initial leveling and related compensation is relevant to the

question of gender bias. See Mihalik, 715 F.3d at 110 (challenged conduct demonstrating less

well treatment “need not be ‘tangible’ (like hiring or firing).”) (internal citation omitted).

       The evidence will show that Mr. Shaukat hired Mr. Breslow as an L9, while refusing to

reconsider releveling Ms. Rowe to L9, even though both were responsible for the Financial

Services vertical within Cloud and had similar backgrounds. Six months after hiring Mr.

Breslow, Mr. Shaukat elevated him to the FSVL role without requiring him to undergo a single

interview and despite the fact that he did not meet the qualifications for the role. By contrast, Ms.

Rowe underwent part of the interview process for the same role, received “no negative feedback”

according to Mr. Shaukat, and met all the qualifications for the role, yet was viewed by Mr.

Shaukat as too “junior” for the position. (ECF No. 154 ¶ 323, 327). Evidence of Mr. Shaukat’s

evaluation of Mr. Breslow’s credentials at leveling, which in part informed his later conclusion

that Ms. Rowe was “too junior” for the FSVL role, is relevant to the issue of gender bias and

should be permitted. Mihalik, 715 F.3d at 110; see Matusick v. Erie Cty. Water Auth., 757 F.3d

31, 54 (2d Cir. 2014) (conduct need not be identical in nature or duration to be considered by

jury as evidence of discrimination or pretext).



                                                  3
         Case 1:19-cv-08655-LGS Document 278 Filed 12/05/22 Page 5 of 7




       Plaintiff seeks introduction of similar evidence of bias related to Mr. Shaukat’s pitch to

hire a junior, inexperienced man two levels above the anticipated hiring level for the role. In

October 2018, during the hiring process for the FSVL role, Mr. Shaukat proposed hiring a

twenty-eight-year-old man with only seven years of experience at an L7 (just one level below

Ms. Rowe who had 3x the experience), even though the candidate’s experience, role, and tenure

in the industry was consistent with hiring at L5. (See ECF No. 154, ¶ 177). In addition to

showing Mr. Shaukat’s favorable treatment of men, this evidence refutes one of Google’s many

shifting rationales for under-leveling Ms. Rowe: Google insisted for some time (despite its own

policies to the contrary) that years of experience justified Ms. Rowe’s leveling at L8. However,

Mr. Shaukat did not consider years of experience to be determinative of a candidate’s level when

seeking to hiring a L5 candidate as a L7 and made statements about what Google did consider in

making leveling decisions – namely, the role itself. Likewise, Mr. Shaukat’s own leveling history

demonstrates that level should correspond to role (and not individual experience), as Mr. Shaukat

had the same number of years of experience as Ms. Rowe at the time he joined Google and

Google leveled him as L10. The jury should be allowed to consider these obvious contradictions.

       Defendant’s argument that the evidence would be burdensome, cause juror confusion,

and unnecessary prolonging of the trial is meritless. Plaintiff’s proposed evidence is specific and

limited, and will not confuse the jury as to its purpose or needlessly prolong the trial, and

Defendant has failed to articulate with any clarity why that would not be so. Accordingly, this

relevant evidence is admissible. Fed. R. Evid. 403.

       b. Evidence of Re-Leveling is Relevant and Admissible.

       As noted in Plaintiff’s Opposition to Defendant’s Motion In Limine to Exclude Evidence

of Other Employee Complaints (“MIL Opp. Exclude Employee Complaints”), filed December 5,



                                                  4
         Case 1:19-cv-08655-LGS Document 278 Filed 12/05/22 Page 6 of 7




2022, Ms. Rowe intends to introduce evidence concerning Google’s re-leveling of a female

employee following her complaint about the same, as it is relevant to Google’s claim to Ms.

Rowe that there was no possible process for revisiting her level. (See GOOG-ROWE-

00058542.R.; ECF No. 154 ¶ 68; MIL Opp. Exclude Employee Complaints at 4). Though that

decision was made by different decision-makers than those concerning Ms. Rowe, that is

precisely the point: elsewhere at Google re-leveling was possible, and Google’s insistence it

could not do the same for Ms. Rowe – even in connection with an expanded role – is evidence of

bias. Similarly admissible is Google’s releveling of Mr. Grannis to L9, and then later to L10;

further evidence that Google could do what HR and Mr. Grannis claimed they could not do.

       c. Plaintiff May Introduce Relevant Evidence Leveling Unrelated to Leveling
          Decisions.

       Defendant’s motion in limine seeks only to exclude evidence of leveling decisions

outside the Technical Director role. Accordingly, Plaintiff may introduce evidence unrelated to

leveling decisions, such as the level held by certain employees and the fact of their level changes,

as well as evidence of Google’s leveling policies applicable to Ms. Rowe’s role and other roles.

See Riddell Sports v. Brooks, 158 F.R.D. 555, 557 (S.D.N.Y. 1994) (questioning is proper where

it “deal[s] primarily with information that could lead to relevant evidence, including the usual

background information about the witnesses.”) This latter evidence is relevant to Ms. Rowe’s

claims for liquidated and punitive damages (as Google did not adhere to its policies), as well as

to counter Defendant’s claims that it acted in good faith. N.Y.C. Admin. Code § 8-502; N.Y.

Labor Law §§ 194(1), 198(1-a).

       Accordingly, Plaintiff respectfully requests that the Court deny Defendant’s motion.


 DATED: New York, New York                           Respectfully submitted,
        December 5, 2022
                                                     /s/ Cara E. Greene

                                                 5
Case 1:19-cv-08655-LGS Document 278 Filed 12/05/22 Page 7 of 7




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                              6
